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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

UNITED STATES OF AMERICA,           )          Cause No. CR-12-40-BLG-RFC
                                    )
          Plaintiff,                )
                                    )
     v.                             )              ORDER DENYING
                                    )              MOTION TO SEVER
OLIVER LEE WHITE,                   )
PEGGY J. WHITE WELL KNOWN           )
BUFFALO, SUSAN V. KELLY,            )
                                    )
          Defendants.               )
___________________________________ )

      Defendants White Well Known Buffalo and Kelly have moved to sever their

case from Oliver White. White Well Known Buffalo and Kelly are charged in

Count VII of a seven count indictment with misprision of a felony. The misprision

charge specifically references the felony alleged in Count VI, attempted abusive

sexual contact, against co-defendant Oliver Lee White. The remainder of the

Indictment, Counts I-V, allege crimes of abusive sexual contact and attempted

abusive sexual contact against Oliver White.

                                BACKGROUND

      Co-Defendant Oliver White is charged with four counts of abusive sexual

contact, sexual contact, and two counts of attempted abusive sexual contact. The

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time frame for this case is 2007 (Count I), 2008 and 2009 (Counts II, III, IV, and

V), and 2011 (Count VI). The government alleges the proof will show White was

previously indicted, in May 2009, for Counts II-V. Because of concerns about

White’s competence, the case was resolved without a trial, with an informal

deferral agreement that was signed by White, and the other co-defendants, White

Well Known Buffalo and Kelly. The agreement was for a two year period –

December 2009 through December 2011. Before expiration of the agreement, the

conduct alleged in Count VI allegedly occurred (June 20, 2011), and then the

actions of White Well Known Buffalo and Kelly, after being advised about

White’s alleged attempted sexual abuse of the victim in Count VI, gave rise to

Count VII.

      Furthermore, during the course of the investigation into Count VI, in the fall

of 2011, the alleged victim in Count I disclosed for the first time that White had

sexually abused her. Law enforcement and the United States were unaware of the

crime alleged in Count I at the time of the first indictment in 2009.

      Law enforcement did not learn about the crime alleged in Count VI until

August 2011, because of the alleged misprision committed by White Well Known

Buffalo and Kelly.




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                                     ANALYSIS

      Federal Rule of Criminal Procedure 8(b) provides that multiple defendants

maybe be charged in a single indictment if they are alleged to have participated in

the same criminal acts or offenses. Rule 14, F.R.Crim.P. permits the court to sever

the trial: “only if there is a serious risk that a joint trial would compromise a

specific right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539

(1993).

      Co-defendants jointly charged are, prima facie, to be jointly tried. United

States v. Mariscal, 939 F.2d 884, 885 (9th Cir. 1991). The presumption in favor

of joint trial “expedites the administration of justice, reduces the congestion of

trial dockets, conserves judicial time, lessens the burden upon citizens to sacrifice

time and money to serve on juries, and avoids the necessity of recalling witnesses

who would otherwise be called upon to testify only once.” United States v.

Gaines, 563 F.2d 1352, 1355 (9th Cir. 1977).

      Federal courts prefer the joint trial of defendants indicted together. Zafiro,

506 U.S. at 537. This policy conserves judicial resources and works to “avoid the

scandal and inequity of inconsistent verdicts.” Id. Given these concerns, joinder

of defendants for trial is “particularly appropriate” when the defendants are

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charged in a conspiracy count, United States v. Cruz, 127 F.3d 791, 799 (9th Cir.

1997), abrogated on other grounds, United States v. Jimenez Recio, 123 S.Ct. 819

(2003), or when the evidence of the charged offenses overlaps substantially,

United States v. Golb, 69 F.3d 1417, 1425 (9th Cir. 1995).

      In determining whether two or more offenses are part of the same series of

acts or transactions, the Ninth Circuit “looks for a ‘logical relationship’ between

offenses.” United States v. Sarkisian, 197 F.3d 966, 975 (9th Cir. 1999). A

logical relationship is established by the existence of a “common plan, scheme, or

conspiracy,” or where “the common activity constitutes a substantial portion of the

proof of the joined charges.” Id. at 975-76.

      Since some prejudice is inherent in any joinder of defendants, if only

“some” prejudice is all that need be shown, few, if any, multiple defendant trials

could be held. United States v. Vaccaro, 816 F.2d 443, 448 (9th Cir. 1987).

Moreover, “defendants are not entitled to severance merely because they may have

a better chance of acquittal in separate trials.” Zafiro v. United States, 506 U.S.

534, 540 (1993).

      The government intends to present evidence related to the alleged

misprision that White Well Known Buffalo and White were involved with the

deferral agreement associated with Counts II-V. Count VI cannot be severed from

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the course of conduct explained by Counts II-V and the deferral agreement. And

Count VII cannot be severed from Count VI because of the elements of

misprision. The only count not related to the deferral agreement is Count I, which

is properly joined with Counts II-VI, because the facts underlying Count I are

“common activity” when compared to the conduct underlying Counts II-VI. It

would not make sense in terms of trial convenience and efficiency to sever Count

I, especially because any prejudice to White Well Known Buffalo would be

minimal and the Court can cure any potential prejudice with jury instructions.

      The four elements to the crime of misprision of a felony are: the principal,

in this case Oliver White, must have committed and completed the underlying

felony, in this case, the attempted sexual abuse of the victim in Count VI. Second,

White Well Known Buffalo and Kelly must have had full knowledge of such

commission. Third, White Well Known Buffalo and Kelly must have failed to

notify the authorities. Fourth, White Well Known Buffalo and Kelly must have

taken “an affirmative step to conceal the crime.” See United States v. Ciambrone,

750 F.2d 1416, 1417 (9th Cir. 1984).

      Joinder of Counts VI and VII are appropriate because the first element of

Count VII will be the same proof presented to prove Count VI. Trial efficiency

and convenience demand that Counts VI and VII be tried together.

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      Denying the motion to sever will serve the purpose of expediting the

administration of justice, reduce this Court’s congestion of trial dockets, conserve

judicial time, lessens the burden upon citizens to sacrifice time and money to serve

on juries, and avoids the necessity of recalling witnesses. The Court is particularly

concerned about the necessity of recalling underage victims in multiple sex

offense cases.

      Any prejudice to White Well Known Buffalo and Kelly can certainly be

cured with appropriate jury instructions. The parties are directed to propose

appropriate jury instructions with this issue in mind at the time of trial to remedy

any prejudice.

      Defendant’s Motion to Sever [doc. 29] is DENIED.

      DATED this 24th day of July, 2012.

                                               /s/ Richard F. Cebull__________
                                               RICHARD F. CEBULL
                                               U.S. DISTRICT COURT JUDGE




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